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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

KURON LAVELL BROWN                                                                           PLAINTIFF

v.                                 Case No. 4:20-CV-417-LPR-BD

GORMAN and BAKER                                                                          DEFENDANTS

                                                 ORDER

        The Court has received a Recommended Disposition filed by Magistrate Judge Beth Deere.

No objections have been filed. After careful review of the Recommendation as well as the Record,

the Court concludes that the Recommendation should be, and hereby is, approved and adopted as

this Court’s findings in its entirety.

        Mr. Brown’s claims are DISMISSED, without prejudice, based on his failure to comply

with the Court’s April 17, 2020 Order and his failure to prosecute this lawsuit.1


        IT IS SO ORDERED this 5th day of October 2020.



                                                          ________________________________
                                                          LEE P. RUDOFSKY
                                                          UNITED STATES DISTRICT JUDGE




1
 The Recommendation was sent to Mr. Brown at the address on record, but was returned as undeliverable. It was
Mr. Brown’s duty to update his address if it changed. He did not do so.
